23-12055-shl        Doc 287       Filed 07/12/24 Entered 07/12/24 12:36:18           Main Document
                                               Pg 1 of 2



AKIN GUMP STRAUSS HAUER & FELD LLP
Ira S. Dizengoff
Philip C. Dublin
Abid Qureshi
One Bryant Park
New York, New York 10036
Telephone: (212) 872-1000
Facsimile: (212) 872-1002

Rachel Biblo Block (admitted pro hac vice)
2300 N. Field St., Suite 1800
Dallas, Texas 75201
Telephone: (214) 969-2800
Facsimile: (214) 969-4343

Counsel to the Official Committee of
Unsecured Creditors of Rudolph W. Giuliani

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                         :   Chapter 11
                                                               :
RUDOLPH W. GIULIANI                                            :   Case No. 23-12055 (SHL)
a/k/a RUDOLPH WILLIAM GIULIANI,                                :
                                                               :
                           Debtor.                             :
---------------------------------------------------------------x

                  NOTICE OF CANCELATION OF JULY 12, 2024 HEARING

        PLEASE TAKE NOTICE that, at the direction of the Court, the hearing scheduled for

July 12, 2024 at 1:00 p.m. (prevailing Eastern Time) with respect to the Motion of the Official

Committee of Unsecured Creditors of Rudolph W. Giuliani for Entry of an Order Directing the

Immediate Appointment of a Trustee Pursuant to 11 U.S.C. § 1104 [Docket No. 233] (the “Trustee

Motion”) and the Debtor’s Application to Convert Chapter 11 to Chapter 7 [Docket No. 277] (the

“Conversion Application”) has been canceled because the Court will issue a written decision today

in respect of the Trustee Motion and Conversion Application.
23-12055-shl   Doc 287   Filed 07/12/24 Entered 07/12/24 12:36:18      Main Document
                                      Pg 2 of 2




 Dated: July 12, 2024                By: /s/ Philip C. Dublin
        New York, New York               AKIN GUMP STRAUSS HAUER & FELD LLP
                                         Ira S. Dizengoff
                                         Philip C. Dublin
                                         Abid Qureshi
                                         One Bryant Park
                                         New York, New York 10036
                                         Tel:     (212) 872-1000
                                         Fax:     (212) 872-1002
                                         Email: idizengoff@akingump.com
                                                  pdublin@akingump.com
                                                  aqureshi@akingump.com

                                         - and -

                                         Rachel Biblo Block (admitted pro hac vice)
                                         2300 N. Field St., Suite 1800
                                         Dallas, Texas 75201
                                         Tel:     (214) 969-2800
                                         Fax:     (214) 969-4343
                                         Email: rbibloblock@akingump.com

                                         Counsel to the Official Committee of
                                         Unsecured Creditors of Rudolph W. Giuliani




                                        2
